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                 Electronic Articles of Organization                                L13000022844
                                                                                    FILED 8:00 AM
                              For                                                   February 13, 2013
                 Florida Limited Liability Company                                  Sec. Of State
                                                                                    tcline
                                  Article I
The name of the Limited Liability Company is:
     ABSOLUTE MEDICAL LLC



                                  Article II
The street address of the principal office of the Limited Liability Company is:
     382 DEVON PLACE
     HEATHROW, FL. UN 32746

The mailing address of the Limited Liability Company is:
     382 DEVON PLACE
     HEATHROW, FL. UN 32746

                                  Article III
The purpose for which this Limited Liability Company is organized is:
     ANY AND ALL LAWFUL BUSINESS.



                                  Article IV
The name and Florida street address of the registered agent is:
     GREG SOUFLERIS
     382 DEVON PLACE
     HEATHROW, FL. 32746

Having been named as registered agent and to accept service of process for the above stated limited
liability company at the place designated in this certificate, I hereby accept the appointment as registered
agent and agree to act in this capacity. I further agree to comply with the provis10ns of all statutes
relating to the proper and complete performance of my duties, and I am familiar with and accept the
obligations of my position as registered agent.
Registered Agent Signature: GREG SOUFLERIS




                                                                                                         EXHIBIT
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                                 Article V                                         L13000022844
The name and address of managing members/managers are:                             FILED 8:00 AM
                                                                                   Februar'l 13, 2013
     Title: PRS                                                                    Sec. Of State
     GREG SOUFLERIS                                                                tcline
     382 DEVON PLACE
     HEATHROW, FL. 32746 UN

                                 Article VI
The effective date for this Limited Liability Company shall be:
     02/12/2013
Signature of member or an authorized representative of a member
Electronic Signature: GREG SOUFLERIS
I am the member or authorized representative submitting these Articles of Organization and affirm that the
facts stated herein are true. I am aware that false information submitted in a document to the Department
of State constitutes a third degree felony as provided for in s.817.155, F.S. I understand the requirement to
file an annual report between January 1st ano May 1st in the calendar year following formation of the LLC
and every year thereafter to maintain "active" status.
